                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR07-4037-MWB
 vs.                                  ORDER CONCERNING
                                 MAGISTRATE JUDGE’S REPORT
 MAURICE HALTIWANGER,                AND RECOMMENDATION
                                    REGARDING DEFENDANT’S
          Defendant.            OBJECTION TO PLAINTIFF’S § 851
                                           NOTICE
                     ____________________

                      I. INTRODUCTION AND BACKGROUND
       On July 18, 2007, an indictment was returned against defendant Maurice
Haltiwanger, charging defendant Haltiwanger with conspiring to distribute 50 grams or
more of crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, and
distributing and aiding and abetting the distribution of 1.5 grams or more of crack cocaine,
in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), and 18 U.S.C. § 2. On January
6, 2009, the prosecution filed a notice of intent to seek enhanced penalties, pursuant to 21
U.S.C. § 851(a). In its notice, the prosecution indicates that it intends to rely on defendant
Haltiwanger’s November 2001conviction in Kansas District Court in Wyandotte County,
Kansas, for failure to affix a drug tax stamp, in violation of Kansas law, Kansas Statutes
Annotated § 79-504. Prosecution Notice at 1, Docket No. 71. On February 3, 2009,
defendant Haltiwanger filed a response to the prosecution’s notice, pursuant to 21 U.S.C.
§ 851(c). In his response, defendant Haltiwanger contends his Kansas tax stamp conviction
cannot, as a matter of law, form the basis for an enhanced sentence.               Defendant
Haltiwanger contends that because he could not have been sentenced to more than seven
months imprisonment under Kansas law, the offense does not qualify as a “prior conviction



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for a felony drug offense” for purposes of the federal sentence enhancement statute.
      This matter was referred to Chief United States Magistrate Judge Paul A. Zoss,
pursuant to 28 U.S.C. § 636(b). Judge Zoss conducted a hearing, as required by 21
U.S.C. § 851(c)(1), and then, on February 11, 2009, filed a thorough and comprehensive
Report and Recommendation in which he recommended that defendant Haltiwanger’s
objections to the prosecution’s § 851 notice be sustained.   Judge Zoss concluded that,
under Kansas’s sentencing matrix, the maximum sentence of imprisonment to which
Haltiwanger could have been sentenced was seven months. Judge Zoss, therefore,
concluded that defendant Haltiwanger’s Kansas conviction did not qualify as a prior felony
drug offense for purposes of the federal enhancement statute. The prosecution has filed
objections to Judge Zoss’s Report and Recommendation.


                                II. LEGAL ANALYSIS
                                A. Standard Of Review
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:

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              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       De novo review, of course, is nondeferential and generally allows a reviewing court
to make an “independent review” of the entire matter. Salve Regina College v. Russell,
499 U.S. 225, 238 (1991) (noting also that “[w]hen de novo review is compelled, no form
of appellate deference is acceptable”); see Doe v. Chao, 540 U.S. 614, 620-19 (2004)
(noting de novo review is “distinct from any form of deferential review”). The de novo
review of a magistrate judge’s report and recommendation, however, only means a district
court “‘give[s] fresh consideration to those issues to which specific objection has been
made.’” United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R. Rep. No. 94-
1609, at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how certain
amendments affect 28 U.S.C. § 636(b))). Thus, while de novo review generally entails
review of an entire matter, in the context of § 636 a district court’s required de novo
review is limited to “de novo determination[s]” of only “those portions” or “specified
proposed findings” to which objections have been made. 28 U.S.C. § 636(b)(1); see


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Thomas, 474 U.S. at 154 (“Any party that desires plenary consideration by the Article III
judge of any issue need only ask.” (emphasis added)). Consequently, the Eighth Circuit
Court of Appeals has indicated de novo review would only be required if objections were
“specific enough to trigger de novo review.” Branch v. Martin, 886 F.2d 1043, 1046 (8th
Cir. 1989). Despite this “specificity” requirement to trigger de novo review, the Eighth
Circuit Court of Appeals has “emphasized the necessity . . . of retention by the district
court of substantial control over the ultimate disposition of matters referred to a
magistrate.” Belk v. Purkett, 15 F.3d 803, 815 (8th Cir. 1994). As a result, the Eighth
Circuit has been willing to “liberally construe[]” otherwise general pro se objections to
require a de novo review of all “alleged errors,” see Hudson v. Gammon, 46 F.3d 785,
786 (8th Cir. 1995), and to conclude that general objections require “full de novo review”
if the record is concise, Belk, 15 F.3d at 815 (“Therefore, even had petitioner’s objections
lacked specificity, a de novo review would still have been appropriate given such a concise
record.”). Even if the reviewing court must construe objections liberally to require de
novo review, it is clear to this court that there is a distinction between making an objection
and making no objection at all. See Coop. Fin. Assoc., Inc. v. Garst, 917 F. Supp. 1356,
1373 (N.D. Iowa 1996) (“The court finds that the distinction between a flawed effort to
bring objections to the district court’s attention and no effort to make such objections is
appropriate.”). Therefore, this court will strive to provide de novo review of all issues
that might be addressed by any objection, whether general or specific, but will not feel
compelled to give de novo review to matters to which no objection at all has been made.
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir.
1996) (noting when no objections are filed and the time for filing objections has expired,
“[the district court judge] would only have to review the findings of the magistrate judge

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for clear error”); Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the
advisory committee’s note to Fed. R. Civ. P. 72(b) indicates “when no timely objection
is filed the court need only satisfy itself that there is no clear error on the face of the
record”); Branch, 886 F.2d at 1046 (contrasting de novo review with “clearly erroneous
standard” of review, and recognizing de novo review was required because objections
were filed). The court is unaware of any case that has described the clearly erroneous
standard of review in the context of a district court’s review of a magistrate judge’s report
and recommendation to which no objection has been filed. In other contexts, however, the
Supreme Court has stated the “foremost” principle under this standard of review “is that
‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573-74
(1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Thus, the
clearly erroneous standard of review is deferential, see Dixon v. Crete Medical Clinic,
P.C., 498 F.3D 837, 847 (8th Cir. 2007) (noting a finding is not clearly erroneous even
if another view is supported by the evidence), but a district court may still reject the
magistrate judge’s report and recommendation when the district court is “left with a
definite and firm conviction that a mistake has been committed,” U.S. Gypsum Co., 333
U.S. at 395.
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this court to believe that
a clearly erroneous standard of review should generally be used as the baseline standard
to review all findings in a magistrate judge’s report and recommendation that are not
objected to or when the parties fail to file any timely objections, see Grinder, 73 F.3d at
795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also Fed. R. Civ. P. 72(b)
advisory committee’s note (“When no timely objection is filed, the court need only satisfy

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itself that there is no clear error on the face of the record in order to accept the
recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, the court believes one further caveat is necessary: a district court always
remains free to render its own decision under de novo review, regardless of whether it
feels a mistake has been committed. See Thomas, 474 U.S. at 153-54. Thus, while a
clearly erroneous standard of review is deferential and the minimum standard appropriate
in this context, it is not mandatory, and the district court may choose to apply a less
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deferential standard.


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          The Eighth Circuit Court of Appeals, in the context of a dispositive matter
originally referred to a magistrate judge, does not review a district court’s decision in
similar fashion. The Eighth Circuit Court of Appeals will either apply a clearly erroneous
or plain error standard to review factual findings, depending on whether the appellant
originally objected to the magistrate judge’s report and recommendation. See United States
v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (“Ordinarily, we review a district court’s
factual findings for clear error . . . . Here, however, the record reflects that [the
appellant] did not object to the magistrate’s report and recommendation, and therefore we
review the court’s factual determinations for plain error.” (citations omitted)); United
States v. Looking, 156 F.3d 803, 809 (8th Cir. 1998) (“[W]here the defendant fails to file
timely objections to the magistrate judge’s report and recommendation, the factual
conclusions underlying that defendant’s appeal are reviewed for plain error.”). The plain
error standard of review is different than a clearly erroneous standard of review, see
United States v. Barth, 424 F.3d 752, 764 (8th Cir. 2005) (explaining the four elements
of plain error review), and ultimately the plain error standard appears to be discretionary,
as the failure to file objections technically waives the appellant’s right to appeal factual
findings, see Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994) (stating an appellant
who did not object to the magistrate judge’s report and recommendation waives his or her
right to appeal factual findings, but then choosing to “review[] the magistrate judge’s
findings of fact for plain error”). An appellant does not waive his or her right to appeal
questions of law or mixed questions of law and fact by failing to object to the magistrate
judge’s report and recommendation. United States v. Benshop, 138 F.3d 1229, 1234 (8th
Cir. 1998) (“The rule in this circuit is that a failure to object to a magistrate judge’s report
and recommendation will not result in a waiver of the right to appeal ‘“when the questions
                                                                                  (continued...)

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          As noted above, the prosecution has filed objections to Judge Zoss’s Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Zoss’s
recommended disposition of defendant Haltiwanger’s objection to the prosecution’s § 851
notice.


                       B. Objections To Report and Recommendation
          The prosecution objects to Judge Zoss’s interpretation of the Tenth Circuit Court
of Appeals’s decision in United States v. Hill, 539 F.3d 1213, 1219-21 (10th Cir. 2008).
Specifically, the prosecution contends that the Hill decision supports the proposition that
in determining whether an offense constitutes a prior “felony drug offense” for the
purposes of 21 U.S.C. § 841(b)(1)(A), the court must examine the possible punishment for
an offense, and not the individual sentencing characteristics of a particular defendant. The
government asserts when such an approach is applied to defendant Haltiwanger’s Kansas
conviction for failure to affix a drug tax stamp, that conviction must be found to constitute
a prior felony drug offense for the purposes of § 841(b)(1)(A) because that offense carried
a possible maximum penalty of thirteen months imprisonment.
          The United States Supreme Court held last year that, for the purposes of applying
the mandatory sentencing enhancements of § 841(b)(1), the term “felony drug offense” “is


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        (...continued)
involved are questions of law or mixed questions of law and fact.”’” (quoting Francis v.
Bowen, 804 F.2d 103, 104 (8th Cir. 1986), in turn quoting Nash v. Black, 781 F.2d 665,
667 (8th Cir. 1986))). In addition, legal conclusions will be reviewed de novo, regardless
of whether an appellant objected to a magistrate judge’s report and recommendation. See,
e.g., United States v. Maxwell, 498 F.3d 799, 801 n.2 (8th Cir. 2007) (“In cases like this
one, ‘where the defendant fails to file timely objections to the magistrate judge’s report and
recommendation, the factual conclusions underlying that defendant’s appeal are reviewed
for plain error.’ We review the district court’s legal conclusions de novo.” (citation
omitted)).

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defined exclusively by [21 U.S.C.] § 802(44).” Burgess v. United States, 128 S. Ct.
1572, 1575 (2008). Section 802(44) defines the term “felony drug offense” to mean:
             [A]n offense that is punishable by imprisonment for more than
             one year under any law of the United States or of a State or
             foreign country that prohibits or restricts conduct relating to
             narcotic drugs, marihuana, anabolic steroids, or depressant or
             stimulant substances.
21 U.S.C. § 802(44).
      In its Hill decision, the Tenth Circuit Court of Appeals provided the following
overview of Kansas’s sentencing scheme:
             Kansas enacted the Kansas Sentencing Guidelines Act “to
             reduce prison overcrowding by making a distinction between
             more serious and less serious offenders.” State v. Gould, 271
             Kan. 394, 23 P.3d 801, 811 (2001). The Kansas guidelines
             also serve to standardize sentences so that like offenders are
             treated in a like fashion. Id. “The determination of a felony
             sentence is based on two factors: the current crime of
             conviction and the offender’s prior criminal history.” Id. The
             Kansas sentencing guidelines employ a grid, which is a two-
             dimensional chart. The grid’s vertical axis lists the various
             levels of crime severity, ranging from I to IX for non-drug
             offenses. Kan. Stat. Ann. § 21-4704. The horizontal axis is
             the criminal history scale, which classifies various criminal
             histories. Id. To determine an offender’s presumptive
             sentence, one must consult the grid box at the juncture of the
             severity level of the crime for which the defendant was
             convicted and the offender’s criminal history category. Id.;
             see also Gould, 23 P.3d at 811.
Hill, 539 F.3d at 1215 (footnote omitted).
      Defendant Haltiwanger’s 2001 drug tax stamp conviction constituted a “level 10
felony” under Kansas law. KAN STAT. ANN. § 79-5208. Under Kansas’s sentencing
scheme, the sentencing range for a level 10 felony under the Kansas guidelines was five
to thirteen months, depending on the defendant’s criminal history category.         See

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Sentencing Range Chart, Dkt. No. 80-4, at 1. Defendant Haltiwanger’s criminal history
placed him in Category I, making his sentencing range five to seven months. Id.; Kansas
Presentence Investigation Report Face Sheet, Dkt. No. 80-3, at 1. Defendant Haltiwanger
was sentenced to one year of probation for his tax stamp conviction. From this, defendant
Haltiwanger contends that his Kansas tax stamp violation does not qualify as a felony drug
offense because, in light of his particular circumstances at the time of his conviction, he
was not exposed to a sentence that was punishable by imprisonment for more than one
year.
        The Eighth Circuit Court of Appeals recently rejected such an argument in United
States v. Guzman-Tlaseca, 546 F.3d 571, 579 (8th Cir. 2008). In Guzman-Tlaseca, the
defendant pled guilty in Utah to illegal possession of a controlled substance, third degree,
and received a five-year suspended sentence. Id. The Utah statute at issue in Guzman-
Tlaseca “imposes an ‘indeterminate’ sentence ‘[i]n the case of a felony of the third
degree . . . for a term not to exceed five years.’” Id. (quoting Utah Code Ann. § 76-3-
203(3)). The defendant contended that his Utah conviction was not a “‘felony drug
offense’ under federal law because a third degree felony conviction in Utah might result
in less than a one-year sentence.” Guzman-Tlaseca, 546 F.3d at 579. In rejecting the
defendant’s argument in Guzman-Tlaseca, the court of appeals explained as follows:
              Federal law defines “felony drug offense” as one “punishable
              by imprisonment for more than one year . . .” 21 U.S.C. §
              802(44). As the Ninth Circuit has held, “in determining
              whether a state conviction is punishable for more than one
              year’s imprisonment for purposes of a federal criminal statute
              predicated on a prior felony conviction or for federal
              sentencing purposes, we look to the maximum penalty allowed
              by [the state] statute.” United States v. Murillo, 422 F.3d
              1152, 1153-54 (9th Cir. 2005), cert. denied 547 U.S. 1119,
              126 S. Ct. 1928, 164 L. Ed. 2d 677 (2006). Third degree
              possession of a controlled substance in Utah may result in a


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             maximum five-year sentence. Utah Code Ann. § 76-3-203(3).
             Thus, the offense is punishable by imprisonment for more than
             one year.
Id.
      Thus, defendant Haltiwanger’s argument is foreclosed by Guzman-Tlaseca. Under
Kansas’s sentencing scheme, a drug stamp conviction, as a level 10 felony, may result in
a maximum sentence of 13 months. Thus, the offense is punishable by imprisonment for
more than one year. Accordingly, defendant Haltiwanger’s Kansas conviction qualifies
as a predicate drug offense. See Guzman-Tlaseca, 546 F.3d at 579; United States v.
Murillo, 422 F.3d 1152, 1153-54 (9th Cir. 2005) (holding that “the maximum sentence
that makes a prior conviction under state law a predicate offense under 18 U.S.C. §
922(g)(1) remains, after Blakely, the potential maximum sentence defined by the applicable
state criminal statute, not the maximum sentence which could have been imposed against
the particular defendant for his commission of that crime according to the state’s
sentencing guidelines.”), cert. denied 547 U.S. 1119 (2006); see also Hill, 539 F.3d at
1221 (holding that defendant’s prior Kansas conviction for criminal possession of firearm
was punishable by imprisonment for term exceeding one year where statutory maximum
term of imprisonment for offense was twenty-three months, even though, based on
defendant’s criminal history, his presumptive sentence range was nine to eleven months);
United States v. Crawford, 520 F.3d 1072, 1080 (9th Cir. 2008) (holding that defendant’s
conviction under California law for conspiracy to deliver crack cocaine qualified as a
predicate controlled substance offense under the career offender sentencing guideline
where the maximum term for the crime was imprisonment for ten years.). Therefore, the
court sustains the prosecution’s objection to Judge Zoss’s Report and Recommendation,
overrules defendant Haltiwanger’s objection to the prosecution’s § 851 notice concerning
defendant Haltiwanger’s Kansas state court tax stamp conviction, and concludes that


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defendant Haltiwanger’s Kansas state court tax stamp conviction meets the federal
definition of a “felony drug offense”.
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                                  III. CONCLUSION
       Therefore, for the reasons set forth above, the court, rejects Judge Zoss’s Report
and Recommendation, overrules defendant Haltiwanger’s objection to the prosecution’s
§ 851, and concludes that defendant Haltiwanger’s Kansas state court tax stamp conviction
meets the federal definition of a “felony drug offense”.
       IT IS SO ORDERED.
       DATED this 23rd day of February, 2009.


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                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA




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